                     IN THE SUPREME COURT OF NORTH CAROLINA

                                           2022-NCSC-35

                                             No. 268A21

                                        Filed 18 March 2022

     IN THE MATTER OF: D.I.L.




           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) (2019) from an order entered on

     1 June 2021 by Judge David V. Byrd in District Court, Yadkin County. This matter

     was calendared for argument in the Supreme Court on 18 February 2022 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           J. Clark Fischer for petitioner-appellees.

           No brief for Guardian ad Litem.

           Peter Wood for respondent-appellant father.


           BARRINGER, Justice.

¶1         Respondent appeals from the order terminating his parental rights to his

     minor child D.I.L. (Daniel).1 The trial court concluded that both respondent and

     Daniel’s biological mother (mother)2 had neglected Daniel and that there was a




           1 A pseudonym is used in this opinion to protect the juvenile’s identity and for ease of

     reading.
           2 Daniel’s biological mother is not a party to this appeal.
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     substantial likelihood of repetition of neglect of Daniel by respondent and the mother.

     Hence, the trial court found that the ground of neglect pursuant to N.C.G.S. § 7B-

     1111(a)(1) existed to terminate respondent’s parental rights. The trial court further

     concluded that it was in the best interests of Daniel that respondent’s and the

     mother’s parental rights be terminated and thus terminated their parental rights.

¶2         On appeal, respondent challenges the trial court’s determination that there

     was a substantial likelihood of repetition of neglect if Daniel was returned to

     respondent’s care. Respondent contends this determination was erroneous because

     petitioners had custody pursuant to a civil custody order, rendering respondent

     unable to obtain custody without a substantial change in his ability to care for Daniel

     and his parenting skills. Since we conclude that this argument has no merit, we

     affirm the trial court’s order terminating the parental rights of respondent to Daniel.

                                      I.      Background

¶3         When Daniel resided with his mother and respondent, Daniel witnessed them

     sticking themselves with needles and selling drugs. They also instructed Daniel to

     obtain their “happy medicine,” which involved needles. Respondent overdosed once,

     necessitating emergency medical services, and had an ongoing drinking problem. As

     respondent and the mother passed out frequently from their substance use, Daniel’s

     older half-brother had to feed Daniel. The home was dirty and infested with roaches.
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¶4         Eventually, the Wilkes County Department of Social Services (DSS) became

     involved with the family because of illegal drug activity in respondent and the

     mother’s home. Respondent and the mother approached petitioners about taking care

     of Daniel’s older half-brother, and petitioners came to learn of Daniel’s situation

     through DSS.

¶5         Thereafter, on 24 February 2016, petitioners took Daniel and Daniel’s half-

     brother into their care. Daniel arrived with educational deficits for his age, food

     insecurity, clothing infested with roaches and contaminated by intravenous needles,

     unprescribed medicine, and fears of corporal punishment if he was caught lying.

¶6         DSS subsequently filed a petition alleging that Daniel was a neglected

     juvenile. The trial court adjudicated Daniel a neglected juvenile by order entered on

     20 July 2016. Thereafter, on 7 September 2016, in a civil custody proceeding, the trial

     court granted petitioners primary legal and physical custody of Daniel. The order

     provided respondent with monthly supervised visitation.

¶7         Respondent initially utilized some of his visitation rights but did not interact

     with Daniel very much during the visits. Respondent visited with Daniel

     approximately eight times between 2016 and 2017. During this time period,

     respondent provided Daniel a bike, some clothes, and some toys. However, at a visit

     in 2016, respondent arrived high and could barely walk or talk, and at a visit in 2017,

     respondent smelled of alcohol and drank from a container in a brown bag. The visit
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       in August 2017 was the last time respondent visited with Daniel or petitioners.

       Respondent did not contact petitioners to arrange subsequent visits and ceased

       calling petitioners. Respondent also had not written or sent any cards to Daniel since

       2015.

¶8             Respondent filed a motion to modify custody on 17 September 2018. On

       2 October 2018, petitioners filed a petition to terminate respondent’s and the

       mother’s parental rights, alleging neglect and willful abandonment pursuant to

       N.C.G.S. § 7B-1111(a)(1) and (a)(7). Petitioners subsequently amended the petition

       on 8 April 2019 to attach the custody orders referenced in the petition.

¶9             A termination-of-parental-rights hearing occurred over the course of three

       days. At the time, respondent was on probation. Respondent previously had been

       convicted of driving while impaired and one or more drug offenses, including

       maintaining a dwelling for purposes of controlled substances. Respondent was

       employed, had health insurance, resided in a two-bedroom mobile home, and paid

       child support for one of his children. However, he had not paid child support for

       Daniel (or any of his other children) or added Daniel to his health insurance plan

       despite its availability. Respondent acknowledged that he chose not to pay child

       support for Daniel’s care.

¶ 10           The trial court found that a ground existed to terminate respondent’s parental

       rights pursuant to N.C.G.S. § 7B-1111(a)(1) and that termination was in Daniel’s best
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       interests. Accordingly, the trial court terminated respondent’s parental rights.

       Respondent appealed.

                   II.   Substantial Likelihood of Repetition of Neglect

¶ 11         On appeal, respondent argues that the trial court committed prejudicial error

       for one reason: the trial court found a substantial likelihood of repetition of neglect

       when there was no chance for respondent to obtain custody of Daniel unless

       respondent showed a substantial change in his parenting skills and ability to care for

       Daniel. Respondent argues that this showing would be required for him to obtain

       custody because petitioners already had custody pursuant to a civil custody order.

¶ 12         Petitioners contend that the existence of a civil custody order does not bar a

       determination of a substantial likelihood of repetition of neglect. Petitioners argue

       that this Court’s decision in In re B.T.J., 377 N.C. 18, 2021-NCSC-23, directs the trial

       court to assess the fitness of the parent to care for the child at the time of the

       termination-of-parental-rights proceeding when determining a probability of

       repetition of neglect. Thus, according to petitioners, the custody order is irrelevant.

       Further, petitioners raise that respondent’s contention ignores the definitions of

       neglect and neglected juvenile under the applicable statutes, N.C.G.S. § 7B-

       1111(a)(1) and N.C.G.S. § 7B-101(15).

¶ 13         We agree that respondent’s argument is contrary to this Court’s prior

       decisions. For several decades, this Court has recognized that in addition to evidence
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       of prior neglect by the parents prior to losing custody of the juvenile, including an

       adjudication of neglect,

                    [t]he trial court must also consider any evidence of changed
                    conditions in light of the evidence of prior neglect and the
                    probability of a repetition of neglect. The determinative
                    factors must be the best interests of the child and the
                    fitness of the parent to care for the child at the time of the
                    termination proceeding.

       In re Ballard, 311 N.C. 708, 715 (1984) (cleaned up); see also In re B.T.J., ¶ 13.

¶ 14         Further, the applicable statutes do not deem the fitness necessary for a parent

       to regain custody of a child relevant to a determination of neglect under N.C.G.S.

       § 7B-1111(a)(1). Pursuant to N.C.G.S. § 7B-1111(a)(1), a trial court “may terminate

       . . . parental rights upon a finding [that] . . . [t]he parent has . . . neglected the

       juvenile.” N.C.G.S. § 7B-1111(a) (2021) (emphasis added). And subsection 7B-101(15)

       of the General Statutes of North Carolina defines neglected juvenile to include “[a]ny

       juvenile less than 18 years of age . . . whose parent, guardian, custodian, or caretaker

       does not provide proper care, supervision, or discipline.” N.C.G.S. § 7B-101(15) (2019)

       (emphasis added); see also N.C.G.S. § 7B-101(15) (2021) (defining neglected juvenile

       as “[a]ny juvenile less than 18 years of age . . . whose parent, guardian, custodian, or

       caretaker does any of the following: . . . [d]oes not provide proper care, supervision, or

       discipline” (emphasis added)). Notably, the applicable statutes use the present or

       present perfect tense—not the future—and make no mention of the fitness necessary

       for a parent to regain custody of his or her child.
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¶ 15          Thus, we conclude that the trial court did not err.

                                         III.    Conclusion

¶ 16          Having addressed the one issue respondent identified on appeal3—whether

       “[t]he trial court committed prejudicial error by finding a probability of future neglect

       when there was no risk of future neglect because Daniel could not be returned to

       [respondent] under the civil custody order unless a court found there was no risk to

       the child”—and having found no merit to the argument, we affirm the trial court’s

       order terminating respondent’s parental rights.

              AFFIRMED.




              3 Respondent stated in his brief that he “dispute[d] conclusions of law six and seven.”

       However, respondent offered no argument or reason to support this statement other than the
       one issue that he identified on appeal, which we hold has no merit. Thus, we have addressed
       the issue presented to the Court. All other issues are deemed abandoned. See N.C. R. App. P.
       28(a), (b)(6).
